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         EXHIBIT A
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                         SETTLEMENT AGREEMENT AND RELEASE

         This settlement agreement and mutual release (“Agreement”) is entered into on July 1,
  2015, by (a) ADRIAN PLESHA (“PLESHA”), individually and on behalf of ANTONELLI
  WOZNY PLESHA & CAMPA LLC (“AWPC”), on the one hand; and (b) SECURE
  CHANNELS, INC. (“SCI”), and Richard Blech (“BLECH”), an individual, on the other hand.
  Both groups are collectively referred to herein as the “parties.”

                                             RECITALS

     A. During November/December 2014, PLESHA/AWPC conducted discussions with
        BLECH, President of SCI, regarding lobbying work for SCI and engaged in a series of
        meetings and services regarding the same (the “DISCUSSIONS”).

     B. PLESHA/AWPC contends that a contract was formed with SCI and BLECH for lobbying
        services during the DISCUSSIONS. SCI and BLECH contend that no contract was
        formed.

     C. PLESHA/AWPC has contemplated litigation against SCI/BLECH and has exchanged
        correspondence with SCI/BLECH regarding same including demands of January 19,
        2015 and May 26, 2015, but never filed a lawsuit. All such claims for damages by
        PLESHA/AWPC arising out of the DISCUSSIONS are referred to herein as “PLESHA’S
        CLAIMS.”

         PLESHA/AWPC and SCI have agreed to globally settle, compromise, and resolve all
         disputes with each other, including PLESHA’S CLAIMS (collectively, the “DISPUTE”),
         on the terms and conditions contained in this Agreement.

  NOW THEREFORE, in consideration of the above-referenced facts and covenants and
  conditions hereinafter set forth, the parties agree as follows:

                                           AGREEMENT

  1. Settlement terms.        In exchange for payment of $25,000 (the “Total Settlement
     Consideration”) as set forth herein, PLESHA/AWPC (i) will, subject to Section 4, release,
     waive, and discharge SCI and their agents and affiliates from all claims arising from or
     pertaining to the DISPUTE, (ii) will not file a lawsuit against SCI or their agents or affiliates
     and (iii) will not publish, discuss, or otherwise use the Secure Channels or SCI mark in any
     way or form, including any claims of relationship or former relationship, whether personal or
     business, with SCI or BLECH or any claims of knowledge of SCI’s products, technologies or
     solutions.

     1.1. Payments. SCI will pay PLESHA the sum of $25,000.00 (twenty-five thousand dollars)
          payable according to the following schedule:

         1.1.1. $5,000 on or before July 2, 2015;



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         1.1.2.   $5,000 on or before July 30, 2015;
         1.1.3.   $5,000 on or before August 30, 2015;
         1.1.4.   $5,000 on or before September 30, 2015; and
         1.1.5.   $5,000 on or before October 30, 2015.

     1.2. Default. If any payment is not timely made (including if a check is returned for
          insufficient funds) (a “Default”), PLESHA/AWPC will send written notice to SCI. If
          SCI does not cure within 14 days from the date notice is sent, the total sum due
          PLESHA will default to $84,000 (eighty-four thousand dollars) less any payments made
          pursuant to Section 1.1 (the “Default Amount”).

     1.3. Compliance with Tax Regulations. In order to comply with regulations promulgated
          by the IRS, SCI will issue FORM 1099-Misc for settlement/ compensation paid to
          ADRIAN PLESHA. Accordingly, Plesha shall furnish Form W9, completed with his
          tax identification number to SCI, as a condition to receive any payment pursuant to
          Section 1.1.

  2. Mutual release.
     In exchange for performance and satisfaction of the obligations as set forth herein, and for
     other good and valuable consideration the receipt and sufficiency of which are hereby
     acknowledged, the parties, for themselves and on behalf of their past and present directors,
     officers, members, partners, employees, subsidiaries, insurers, attorneys, stockholders,
     agents, and successors in interest, do hereby forever release and discharge each other,
     including each of the parties’ past and present directors, officers, partners, members,
     employees, subsidiaries, insurers, attorneys, stockholders, agents, heirs, assigns, and
     successors in interest from any and all liabilities, acts, actions, causes of action, suits,
     proceedings, debts, dues and sums of money, accounts, accountings, reckonings, bonds, bills,
     covenants, contracts, controversies, conveyances, leases, assignments, agreements, promises,
     representations, trespasses, damages, judgments, executions, defenses, offsets, counterclaims,
     claims, demands, attorney’s fees, costs, expenses, and other financial or other losses, or any
     combination of the same, of any nature whatsoever, whether known or unknown, suspected
     or unsuspected, contingent or certain, direct or indirect, fixed or contingent, whether at law or
     in equity, which the parties ever had, has, or may have against the other, arising from or
     pertaining to the DISCUSSIONS or DISPUTE, whether or not such claims were raised in
     connection       with       PLESHA’s         demands          or     otherwise      (“Release”).
     Each party hereby waives the protections of California Civil Code section 1542, which
     provides as follows:

         “A general release does not extend to claims which the creditor does not know or
         suspect to exist in his or her favor at the time of executing the release, which if
         known by him or her must have materially affected his or her settlement with the
         debtor.”

     Each party represents that he/she understands and acknowledges the significance and
     consequences of a waiver of Civil Code section 1542, and hereby assumes full responsibility
     for any injuries, damages, or losses that it may incur by such waiver.



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     The undersigned acknowledge that they are aware that different or additional facts may be
     discovered in addition to what they now know or believe to be true with respect to the
     matters herein released, and that they agree that this Agreement shall be and remain in effect
     in all respects as a complete and final release of the matters released, notwithstanding any
     different or additional facts.

  3. No Admission of Liability. This Agreement is entered into solely for the purpose of settling
     disputed claims and defenses, and to avoid the expense and uncertainties of litigation. This
     Agreement, and the provisions provided herein, do not constitute an admission by any party
     hereto of the merit or lack thereof of any party’s claims or defenses. Further, the parties do
     not admit fault or liability of any kind, all of which is denied and contested. Neither this
     Agreement nor any of its terms is admissible in any proceeding, except a proceeding to
     interpret or enforce its terms.

  4. Remedies.

     4.1. In the event of Default by SCI not timely cured pursuant to Section 1.2,
          PLESHA/AWPC retains the right to seek damages against BLECH pursuant to
          PLESHA’S CLAIMS in an amount equal to the Default Amount less any payments
          received         pursuant          to            this           Agreement.

     4.2. If PLESHA/AWPC breach the settlement terms described in Section 1 subsections (i)-
          (iii) or Section 5.10 (Confidentiality), SCI shall be (a) entitled to equitable relief
          including but not limited to injunction, monetary damages, and punitive damages
          according to proof; (b) (i) relieved of its obligations to pay any further Settlement
          Consideration and (ii) entitled to refund of any Settlement Consideration paid to date;
          further, PLESHA/AWPC shall not be entitled to the Default Amount as provided for in
          Section 1.2.

  5. Miscellaneous.

     5.1. Notices. Any notices hereunder will be delivered via email and U.S. mail or carrier as
          follows:

             If to PLESHA/AWPC:        Adrian Plesha, aplesha@aol.com
             with copy to:             Christopher Schweickert, Esq. cjs@walnutcreekattorney.com
                                       1870 Olympic Boulevard, Suite 105
                                       Walnut Creek, CA 94596
                                       925-788-1672




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            If to SCI/BLECH:           Richard Blech, rjb@securechannels.com
            with copy to:              Emily Levin, Esq., emily@sblcounsel.com
                                       SBL COUNSEL, PLC
                                       1990 S. Bundy Drive, Suite 390
                                       Los Angeles, CA 90025
                                       310-409-1006

     5.2. Further assurances. The parties will execute such other documents and take such other
          actions as may reasonably be necessary to further the purposes of this Agreement.

     5.3. Entire agreement. This Agreement is the complete expression of the parties regarding
          this subject matter and supersedes all prior understandings, warranties, and agreements
          (if any). The consideration recited herein is the sole, complete and entire consideration
          for the releases. There is no agreement, oral or written, express or implied, whereby the
          undersigned are to receive at any time or in any event or upon the happening of any
          contingency or upon the development or the discovery of any fact, circumstance or
          condition, any further consideration of any kind whatsoever from any party hereto.

     5.4. Authority; no prior assignments. The parties represent that they have the sole right
          and exclusive authority to execute this Agreement and receive the consideration therefor;
          and that they have not heretofore assigned to any other person or entity any of the rights
          or claims, or any portion thereof, which are settled or released by this Agreement, and
          that they are aware of no fact, circumstance or reason that would limit in any manner the
          releases they provide by this Agreement.

     5.5. Waivers/modifications. No waiver or modification is valid unless in writing. A waiver
          of one term is not a waiver of another.

     5.6. Severability. If any part of this Agreement is invalid, the remainder will remain in
          force.

     5.7. Successors. This Agreement is binding on the parties’ successors, heirs, and assigns. In
          the event PLESHA/AWPC assigns its rights under this Agreement, notice of such
          assignment shall be delivered to SCI and PLESHA/AWPC shall be responsible for any
          costs incurred by SCI to cancel and revise the checks described in Section 1.1 above.

     5.8. Advice of counsel. Each party has had advice of counsel in preparing and executing this
          agreement. For purposes of construing ambiguities, each party is considered to have
          drafted this agreement. Each party will bear their own attorney’s fees and costs to date
          and for the execution and performance of this agreement.

     5.9. Enforceability; venue, jurisdiction, and choice of law; fees/costs. This Agreement
          may be enforced by court. This Agreement shall be governed by, construed and
          enforced in accordance with the internal laws of the State of California. Venue and
          jurisdiction for any dispute arising from this Agreement shall be only in the Superior
          Court of California, Orange County, or the United States District Court for the Central



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